Case 18-40270-elm11 Doc 316 Filed 08/21/19      Entered 08/21/19 10:50:08     Page 1 of 12



 J. Robert Forshey
 State Bar No. 07264200
 Laurie Dahl Rea
 State Bar No. 00796150
 FORSHEY & PROSTOK LLP
 777 Main St., Suite 1290
 Fort Worth, TX 76102
 Telephone: 817-877-8855
 Facsimile: 817-877-4151
 bforshey@forsheyprostok.com
 lrea@forsheyprostok.com

 ATTORNEYS FOR TENET
 CONCEPTS, LLC

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 In re:                                     )
                                            )
 TENET CONCEPTS, LLC,                       )      Case No. 18-40270-elm-11
                                            )
                      Reorganized Debtor.   )      Chapter 11 Case
                                            )
                                            )

                  MOTION FOR FINAL DECREE PURSUANT TO SECTION 350
                   OF THE BANKRUPTCY CODE AND RULE 3022 OF THE
                     FEDERAL RULES OF BANKRUPTCY PROCEDURE
                       (INCLUDING POST-CONFIRMATION REPORT)

 TO THE HONORABLE EDWARD L. MORRIS, UNITED STATES BANKRUPTCY JUDGE:

          NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
          RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
          BANKRUPTCY COURT AT 501 W. 10TH STREET, ROOM 147, FORT WORTH,
          TEXAS 76102-3643 BEFORE CLOSE OF BUSINESS ON SEPTEMBER 11,
          2019, WHICH IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE
          HEREOF.

          ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
          AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
          PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A
          RESPONSE IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO
          THE OBJECTING PARTY.

          IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
          THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND
          THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR
          THE NOTICED ACTION MAY BE TAKEN.
Case 18-40270-elm11 Doc 316 Filed 08/21/19            Entered 08/21/19 10:50:08       Page 2 of 12



        A HEARING ON THIS MATTER HAS BEEN SCHEDULED FOR
        SEPTEMBER 18, 2019 AT 1:30 P.M., BUT MAY BE REMOVED FROM THE
        COURT’S DOCKET IF NO TIMELY OBJECTIONS ARE FILED.

        Tenet Concepts, LLC, the reorganized debtor (the “Debtor” or “Tenet”), files this motion

 (the “Motion”) pursuant to section 350 of the Bankruptcy Code and Bankruptcy Rule 3022 to

 request that this case be closed pursuant to the Final Decree substantially in the form attached

 hereto as Exhibit A (the “Final Decree”). The Motion includes the post-confirmation report

 required by Local Bankruptcy Rule 3022-1.           In support thereof, the Debtor respectfully

 represents as follows:

                                   JURISDICTION AND VENUE

        1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. §157(b). Venue is proper before

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                 PROCEDURAL BACKGROUND

        2.      On January 25, 2019, the Debtor filed a voluntary petition in this Court for relief

 under chapter 11 of the Bankruptcy Code.

        3.      The Amended Plan of Reorganization for Tenet Concepts, LLC [Docket No. 272]

 (the “Plan”) was confirmed pursuant to an Order entered May 31, 2019 (the “Confirmation

 Order”). The Plan became effective June 17, 2019 (the “Effective Date”). See, Docket No. 288.

        4.      The Plan has been substantially consummated. The Debtor anticipates that all

 pending matters will be resolved prior to entry of the Final Decree.

        5.      The Debtor has filed all required operating reports and is current on fees

 (“Trustee Fees”) payable to the Office of the United States Trustee (“UST”) in accordance with

 28 U.S.C. § 1930. The Debtor will continue to work with the UST to ensure that all remaining

 Trustee Fees are paid in a timely manner.




                                                 2
Case 18-40270-elm11 Doc 316 Filed 08/21/19            Entered 08/21/19 10:50:08        Page 3 of 12



                                      RELIEF REQUESTED

          6.    By this Motion, the Debtor seeks entry of the Final Decree substantially in the

 form attached hereto as Exhibit A to close this chapter 11 case, effective as of the date of

 entry.

                                       BASIS FOR RELIEF

          7.    Section 350(a) of the Bankruptcy Code provides, “After an estate is fully

 administered and the court has discharged the trustee, the court shall close the case.” 11

 U.S.C. § 350(a). Bankruptcy Rule 3022 implements section 350(a) of the Bankruptcy Code and

 provides, “After an estate is fully administered in a chapter 11 reorganization case, the court, on

 its own motion or on motion of a party in interest, shall enter a final decree closing the case.”

 FED. R. BANKR. P. 3022.

          8.    The Bankruptcy Code does not specify when an estate should be considered

 “fully administered.”   In making this determination, courts have looked to the Advisory

 Committee Note to Bankruptcy Rule 3022 (the “Advisory Note”) for guidance. In re Union Home

 and Indus., Inc., 375 B.R. 912, 916 (B.A.P. 10th Cir. 2007). The Advisory Note instructs courts

 to consider these factors in determining whether a case is fully administered:

          (a)   Whether the order confirming the plan has become final;

          (b)   Whether deposits required by the plan have been distributed;

          (c)   Whether the property proposed by the plan to be transferred has been

                transferred;

          (d)   Whether the debtor or the successor of the debtor under the plan has assumed

                the business or the management of the property dealt with by the plan;

          (e)   Whether payments under the plan have been commenced; and

          (f)   Whether all motions, contested matters, and adversary proceedings have been

                finally resolved.

 FED. R. BANKR. P. 3022 advisory committee’s note.


                                                 3
Case 18-40270-elm11 Doc 316 Filed 08/21/19            Entered 08/21/19 10:50:08        Page 4 of 12



        9.       Although courts should apply and weigh the factors set forth by the Advisory

 Note, the listed factors are not meant to be exclusive, nor are all factors mandatory. In re Union

 Home Indus., 375 B.R. at 917 (“The factors listed in the Advisory Note are not considered

 exhaustive, nor must a party demonstrate all of the factors, before the court may find a case to

 be fully administered.”); Nat’l Union Fire Ins. Co. v. Eubanks, No. 94-2757 Sec. “R”, 1995 U.S.

 Dist. LEXIS 243, at *5 (E.D. La. Jan. 9, 1995). Rather, the six factors “merely serve as a guide

 in assisting the Court in its decision to close a case.” In re Mold Makers, Inc., 124 B.R. 766, 768

 (Bankr. N.D. Ill. 1990). Courts are encouraged to consider the Advisory Note factors “to insure

 that there is no unfinished business before the Court or in the case.” In re Kliegl Bros. Universal

 Elec. Stage Lighting Co., Inc., 238 B.R. 531, 542 (Bankr. E.D.N.Y. 1999).

        10.      In this case, entry of the Final Decree is warranted at this time. The Confirmation

 Order is final and non-appealable. The Plan has been substantially consummated. All assets

 of the Debtor’s estate have been vested in the reorganized Debtor. The reorganized Debtor is

 operating the Debtor’s business. The reorganized Debtor has commenced making payments

 under the Plan. Further, all motions, claim objections, fee applications, other contested matters,

 and adversary proceedings either have been or are expected to be resolved prior to entry of the

 Final Decree.

        11.      Total compensation for the Debtor’s professionals between the Petition Date and

 the Effective Date case has been or may be awarded in the following amounts: (a) Forshey &

 Prostok, LLP, counsel for the Debtor, $373,216.73; and (b) McDonald Sanders, P.C., special

 counsel for the Debtor, $134,091.60.

        12.      Accordingly, entry of the Final Decree is appropriate.

                                           CONCLUSION

        WHEREFORE, based upon the foregoing, the Debtor respectfully requests that the

 Court grant the Motion, enter a Final Decree substantially in the form attached hereto as




                                                  4
Case 18-40270-elm11 Doc 316 Filed 08/21/19                                Entered 08/21/19 10:50:08   Page 5 of 12



 Exhibit A, and grant such other and further relief as is just and proper.

 Dated: August 21, 2019.                                        Respectfully submitted,


                                                                /s/ Laurie Dahl Rea
                                                                J. Robert Forshey
                                                                State Bar No. 07264200
                                                                Laurie Dahl Rea
                                                                State Bar No. 00796150
                                                                FORSHEY & PROSTOK LLP
                                                                777 Main St., Suite 1290
                                                                Fort Worth, TX 76102
                                                                Telephone: (817) 877-8855
                                                                Facsimile: (817) 877-4151
                                                                bforshey@forsheyprostok.com
                                                                lrea@forsheyprostok.com

                                                                ATTORNEYS FOR TENET CONCEPTS, LLC


                                            CERTIFICATE OF CONFERENCE

         I hereby certify that on August 20, 2019, I contacted Erin Schmidt, attorney for the U.S.
 Trustee, regarding this Motion. Ms. Schmidt has indicated that the U.S. Trustee does not have
 a position of the entry of the Final Decree at this time.

                                                                          /s/ Laurie Dahl Rea
                                                                          Laurie Dahl Rea



                                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
 served via ECF Electronic Notice, where available, and via first class mail on the parties listed
 on the attached service list on this 21st day of August, 2019.

                                                                          /s/ Laurie Dahl Rea
                                                                          Laurie Dahl Rea


 L:\BFORSHEY\Tenet Concepts, LLC (C11) #5927\Pleadings 18-40270-elm11\Motion for Final Decree.doc




                                                                    5
Case 18-40270-elm11 Doc 316 Filed 08/21/19   Entered 08/21/19 10:50:08   Page 6 of 12




                                Exhibit A

                  Proposed Final Decree
Case 18-40270-elm11 Doc 316 Filed 08/21/19                        Entered 08/21/19 10:50:08             Page 7 of 12




     In re:                                                   )
                                                              )
     TENET CONCEPTS, LLC,                                     )        Case No. 18-40270-elm-11
                                                              )
                             Reorganized Debtor.              )        Chapter 11 Case
                                                              )
                                                              )

                      FINAL DECREE CLOSING CHAPTER 11 CASE PURSUANT
                    TO SECTION 350 OF THE BANKRUPTCY CODE AND RULE 3022
                      OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

              Upon the Motion (the “Motion”)1 dated August 21, 2019, filed by Tenet Concepts, LLC (the

 “Debtor”) for entry of a Final Decree closing this chapter 11 case [Docket No. ___]; and it

 appearing that this Court has jurisdiction to consider the motion and the relief requested therein

 in accordance with 28 U.S.C. §§ 157 and 1334; and it appearing that this matter is a core

 proceeding within the meaning of 28 U.S.C. § 157(b); and it appearing that venue of this

 proceeding and the Motion is proper in this district in accordance with 28 U.S.C. §§ 1408 and

 1409; and it appearing that the Debtor’s estate is fully administered as contemplated by section




 1   Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to them in the Motion.
Case 18-40270-elm11 Doc 316 Filed 08/21/19                               Entered 08/21/19 10:50:08   Page 8 of 12



 350(a) of the Bankruptcy Code and by Bankruptcy Rule 3022; and after due deliberation and

 sufficient cause appearing therefor, it is hereby

           ORDERED that the Motion is GRANTED; and it is further

           ORDERED that the Debtor’s bankruptcy case is hereby closed; and it further

           ORDERED that the Debtor shall pay all outstanding fees to the United States Trustee, if

 any, on or before their regular due date as established by the United States Trustee’s procedures;

 and it is further

           ORDERED that this Court shall retain jurisdiction over any and all matters arising from or

 related to the implementation or interpretation of this Order.

                                                    ### End of Order ###




 L:\BFORSHEY\Tenet Concepts, LLC (C11) #5927\Pleadings 18-40270-elm11\Final Decree.docx




 Final Decree                                                                                              Page 2
Case 18-40270-elm11 Doc 316 Filed 08/21/19   Entered 08/21/19 10:50:08   Page 9 of 12




                         Service List
         Case 18-40270-elm11 Doc 316 Filed 08/21/19              Entered 08/21/19 10:50:08     Page 10 of 12


Service List-Plan Solicitation                                                   United States Trustee
                                      Tenet Concepts, LLC
                                                                                 Erin Schmidt, Trial Attorney
Tenet Concepts, LLC                   8200 Cameron Rd., Suite A198
                                                                                 1100 Commerce St., Room 976
#5927                                 Austin, TX 78754
                                                                                 Dallas, TX 75242


Internal Revenue Service
                                      Thomas C. Mauriello                        Brent E. Harris
Centralized Insolvency Operations
                                      1328 Calla Lily Blvd.                      PO Box 157
PO Box 7346
                                      Leander, TX 78641                          Goodrich, TX 77335-0157
Philadelphia, PA 19101-7346


                                                                                 BSX Insurance
Lloyd P. Jones, III                   David Scott Cass
                                                                                 Cole Walters
916 Cavalry Ride Trail                6041 Country South Lane
                                                                                 3355 W. Alabama
Austin, TX 78732                      Midlothian, TX 76065
                                                                                 Houston, TX 77098


Protective Insurance Company          IPFS Corporation                           IPFS Corporation
Attn: Jeffrey A. Hunt, VP-Programs    Attn: Rebecca Berlanga                     Attn: Robyn Provost
111 Congressional Blvd., Suite 500    PO Box 730223                              24722 Network Place
Carmel, IN 46032                      Dallas, TX 75373-0223                      Chicago, IL 60673-1247


                                      McDonald Sanders, LLC                      Vanbridge LLC
Littler Mendelson P.C.
                                      Attn: Russell Davenport                    Attn: Mike Fitzsimmons
PO Box 45547
                                      777 Main St., Suite 1300                   PO Box 416103
San Francisco, CA 94145
                                      Fort Worth, TX 76102                       Boston, MA 02241-6103

                                      Advance business Capital, LLC              Triumph Business Capital
The Hartford                          dba Triumph Business Capital               c/o Dennis Olson
Attn: Norma Richards                  c/o Jared A. Ullman
                                      Ullman & Ullman, P.A.
                                                                                 Olson Nicoud & Gueck, LLP
PO Box 660916
                                      7700 West Camino Real, Suite 401           10440 N. Central Expwy., Suite 1100
Dallas, TX 75266-0916
                                      Boca Raton, FL 33433                       Dallas, TX 75231


Accurate Background                   ADP, LLC                                   AT&T Mobility
7515 Irvine Center Drive              400 W Covina Blvd.                         PO Box 6463
Irvine, CA 92619                      San Dimas, CA 91773                        Carol Stream, IL 60197-6463



Austin Printer Repair                 Before and After Paint Inc.                Blue Cross Blue Shield of Texas
1019 W Rundberg Lane, Apt. A          13626 Ann Louise                           PO Box 731428
Austin, TX 78758                      Houston, TX 77086                          Dallas, TX 75373-1428



                                                                                 California Secretary of State
C-Net Technologies                    California Secretary of State
                                                                                 Franchise Tax Board
3513 SW H.K. Dodgen Loop, Suite 204   PO Box 944228
                                                                                 PO Box 942857
Temple, TX 76502                      Sacramento, CA 94244-2280
                                                                                 Sacramento, CA 94257-0511



Capital One                           Chase Bank                                 Clear Company HRM
PO Box 71083                          PO Box 15123                               PO Box 419189
Charlotte, NC 28272-1083              Wilmington, DE 19850–5123                  Boston, MA 02241-9189
         Case 18-40270-elm11 Doc 316 Filed 08/21/19           Entered 08/21/19 10:50:08      Page 11 of 12


Comptroller of Public Accounts     Concentra Occupational Health Center        Concentra Occupational Health Center
111 E. 17th St.                    PO Box 488                                  PO Box 9005
Austin, TX 78774-0100              Lombard, IL 60148-0488                      Addison, TX 75001-9005



Contigo Technology LLC             Cooper CPA Group, PC                        Dental Select
8127 Mesa Dr., Suite B206-122      15050 Fairfield Village Dr., Suite 130      PO Box 301680
Austin, TX 78759                   Cypress, TX 77433                           Dallas, TX 75303-1680



                                   Enterprise Rent-A-Car/Enterprise Holdings
Enterprise Fleet Management                                                    FedEx
                                   Damage Recovery Unit
PO Box 80089                                                                   PO Box 660481
                                   PO Box 843369
Kansas City, MO 64180-0089                                                     Dallas, TX 75266-0481
                                   Kansas City, MO 64184-3369



First Insurance of CA Funding      Franchise Tax Board                         Illinois Dept. of Revenue
450 Skokie Blvd., Suite 1000       PO Box 942857                               PO Box 19006
Northbrook, IL 60062-7917          Sacramento, CA 94257-0531                   Chicago, IL 62794-9006



Infinisource, Inc.                 Made Affordable Pressure Washing
                                                                               Metropolitan Property & Casualty
Attn: Finance Dept.                Attn: Terrence Dillard
                                                                               PO Box 783861
PO Box 889                         16114 Bowridge Lane
                                                                               Philadelphia, PA 19178-3861
Coldwater, MI 49036                Houston, TX 77053



Molano's Hand Wash                 Picone & Associates Inc.                    Poster Compliance Center
11019 Shadowfield                  439 Main St., #5                            3687 Mt. Diablo Blvd., Suite 100a
Houston, TX 77064                  Islip, NY 11751                             Lafayette, CA 94549



Principle Distribution, LLC        Regions Bank                                Regus - Newark
8200 Cameron Rd., Suite A198       3017 W. 7th St., Suite 410                  39899 Balentine Dr., Suite 200
Austin, TX 78754                   Fort Worth, TX 76107                        Newark, CA 94560



Regus – Chicago                    Regus – Houston                             Regus – San Antonio
350 Northwest Hwy., Suite 300      13201 NW Frwy., Suite 800                   1100 NW Loop 410, Suite 700
Park Ridge, IL 60068               Houston, TX 77040                           San Antonio TX 78213



Scopelitis
                                   Stuco Pros LLC                              Sunrise Identity
Garvin Light Hanson & Feary
                                   4544 Prospect Dr.                           28250 Network Place
10 West Market St., Suite 1500
                                   House Springs, MO 63051                     Chicago, IL 60673-1283
Indianapolis, IN 46204



Texas Mutual Insurance Company     Travelers CL Remittance Center              United Fire Group
PO Box 841843                      PO Box 660317                               PO Box 3244
Dallas, TX 75284-1843              Dallas, TX 75266-0317                       Cedar Rapids, IA 52406-3244
          Case 18-40270-elm11 Doc 316 Filed 08/21/19                    Entered 08/21/19 10:50:08         Page 12 of 12

Wageworks Inc.                               Chen Xu
                                             c/o William David Turley                      Enterprise Holdings
f/k/a Conexis
                                             The Turley Law Firm, APLC                     600 Corporate Park Dr.
PO Box 8363                                  7428 Trade St.                                St. Louis, MO 63105
Pasadena, CA 91109-8363                      San Diego, CA 92121


                                             Jeffrey Lines
Illinois Dept. of Revenue                    c/o Robert Valli, Jr./S. Kane/James Vagnini   Triumph Business Capital
PO Box 19006                                 Valli Kane & Vagnini, LLP                     701 Canton Dr., Suite 100
Chicago, IL 62794-9006                       600 Old Country Rd., Suite 519                Coppell, TX 75019
                                             Garden City, NY 11530


WEX Bank                                     Willie J. Mukes
                                             c/o Joe Micah Williams                        Commerce Bank
fka Wright Express Fin. Svs. Corp.
                                             The Law Offices of Joe M. Williams            PO Box 414084
PO Box 6293                                  8866 Gulf Freeway, Suite 384                  Kansas City, MO 64141-4084
Carol Stream, IL 60197-6293                  Houston, TX 77019

                                                                                           Texas Comptroller of Public Accounts
Jeffrey Lines                                Willie J. Mukes
                                                                                           c/o Courtney Hull/Sherri Simpson
c/o Jay D. Ellwanger/Holt Major Lackey       c/o John Bruster Loyd
                                                                                           Attorney General’s Office
Ellwanger Law LLLP                           Law Office of Jones, Gillaspia & Loyd LLP
                                                                                           Bankruptcy & Collections Div.
8310-1 N. Capital of Texas Hwy., Suite 190   4400 Post Oak Parkway, Suite 2360
                                                                                           PO Box 12548
Austin, TX 78731                             Houston, TX 77027
                                                                                           Austin, TX 78711-2548


IPFS Corporation
                                             Texas Mutual Insurance Co.                    Franchise Tax Board
Attn: Lisa Chandler
                                             6210 E. Highway 290                           PO Box 2952
30 Montgomery St., Suite 1000                                                              Sacramento, CA 95812-2952
                                             Austin, TX 78723
Jersey City, NJ 07302


EAN Services, LLC                            Travis Hawks                                  Amazon Logistics, Inc.
dba Enterprise Rent A Car & National Car     c/o Keating Law offices, PC                   Attn: General Counsel
14002 E. 21st St., Suite 1500                111 West Washington St., Suite 1631           410 Terry Avenue North
Tulsa, OK 74134                              Chicago, IL 60602                             Seattle, WA 98109-5210


                                             EAN Services, LLC                             C.M., a minor child
Amazon Prime Now Delivery Drivers
                                             c/o Scott R. Larson                           c/o Paul Wolf
8310-1 N. Capital of Texas Highway
                                             Bell Nunnally                                 Mitchell Hoffman & Wolf
Suite 190                                                                                  221 North LaSalle St.
                                             3232 McKinney Ave., Suite 1400
Austin, TX 78731                                                                           Chicago, IL 60601
                                             Dallas, TX 75204

Amazon Logistics, Inc.                       Jeffrey Lines
                                                                                           Aon Affinity Insurance Services, Inc.
c/o Darren G. Gibson/Salvador Davila         c/o David W. Henderson
                                                                                           Attn: Dolores McGinty
Littler Mendelson, PC                        Ellwanger Law LLLP
100 Congress Avenue, Suite 1400                                                            1100 Virginia Dr., Suite 250
                                             8310-1 N. Capital of Texas Hwy, Suite 190
Austin, TX 78701                                                                           Fort Washington, PA 19034
                                             Austin, TX 78731

Stephanie Easter                             IPFS Corporation
c/o Sarah R. Schalman-Bergen                 c/o Stephanie Tolson
Berger Montague                              McGlinchey Stafford, PLLC
1818 Market St., Suite 3600                  1001 McKinney St. #1500
Philadelphia, PA 19103                       Houston, TX 77002
